                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:16-cr-00074-MOC-DSC

 UNITED STATES OF AMERICA,                      )
                                                )
                                                )
                                                )
 Vs.                                            )                        ORDER
                                                )
 JERITON LAVAR CURRY,                           )
                                                )
                  Defendant.                    )



       THIS MATTER is before the Court on defendant’s Sealed Sentencing Memorandum

(#247). There are a few issues raised in that pleading of general concern, which the Court may

address without disclosing personal medical information of defendant. Counsel for defendant is

reminded that there is no provision for unilaterally filing a Sentencing Memorandum under seal

and will, in the future, need to file a Motion to Seal the memorandum.

       As to the Sentencing Memorandum, defendant appears to seek immediate or ongoing

relief from this court unrelated to relief at sentencing. Defendant states through counsel, as

follows:

              The [sealed] photographs illustrate the current physical condition of the
       defendant and document the alleged medical neglect that he has constantly
       complained of without relief. Defendant want’s all parties in power to be formally
       noticed of his continuing pleas to receive immediate medical treatment ….

Sent. Mem. (#247) at 1. Defendant is advised that in placing such contentions in a sealed

Sentencing Memorandum, he fails to “put on notice” the person charged by statute with his care:

the United States Marshal. The Marshal is simply not a recipient of such pleadings. Whenever

medical concerns are brought to this Court’s attention by a defendant or his counsel, this Court


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advises the defense to raise those concerns with the United States Marshal immediately. In

reviewing this contention, the Court has listened to the April 10, 2017, hearing held before Judge

Cayer and not once during the hearing did defendant inform Judge Cayer that he was receiving

inadequate medical care. The Court notes that it has now continued Sentencing multiple times

at defendant’s own request, which only extends his stay in a local facility where he is clearly

unhappy with the medical care he is receiving.

       Finally, to the extent the defendant seeks to infer that the Court has been unresponsive,

the court record belays that assertion. So far, the Court has appointed defendant three attorneys,

continued sentencing three times, held a number of hearings, addressed each-and-every pro se

and counseled motion which now number in the dozens, and made provision for defendant to

pursue his theory (as stated in open court) that he was not competent the day of the Rule 11

hearing. Indeed, in defendant’s latest pro se letter to the Court (#238, May 1, 2017), defendant

fails to once mention in nine pages that he is receiving inadequate medical care while in pretrial

detention.

       In an abundance of caution, the Court will send a copy of this Order to the attention of

the United States Marshal and direct that the Clerk of Court unseal the Sentencing Memorandum

for the limited purpose of providing a copy to the Marshal for his review in his capacity as

defendant’s custodian while incarcerated.



                                            ORDER

       IT IS, THEREFORE, ORDERED that to the extent defendant seeks presentence relief

in his Sentencing Memorandum (#247), such relief is denied. The Clerk of Court is instructed to




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               send a copy of this Order and the Sentencing Memorandum and attached exhibits to the United

               States Marshal for his review.

Signed: June 16, 2017




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